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KARIM. MYRON

 

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February 6, 2008

Todd. W. Schnell

Sr, Associate General Counsel
RBC'Dain Rauscher
Dain‘’Rauscher Plaza

60 South Sixth Street
Minneapolis, MN 55402

Gabriela Sikich

US Retirement Benefits Manager ‘

RBC Dain Rauscher

Mailstop P16

60 South Sixth Street

Minneapolis, MN 55402

Re: Steven Benhayon
_. Date of Termination: September 17, 2007
REQULST FOR RECONSIDERATION OF DENIAL OF ACCELERATED
VESTING AND DISTRIBUTION

Dear Mr. Schnell and Ms. Sikich:
Demand is hereby made for Review of the December 11, 2007 Denial of Mr.
Benhayon’s request for distribution of RBC contributions to his WAP Account,
First and foremost, we are unable to ascertain the applicability of the 2006 Plan in
this ‘instance. Please provide our office with a complete and fully executed
copy(ies) of the purported restated plan incorporating and applying the provisions

 

of the 2003 Plan Year “Summary Description and Prospectus” to Mr. Benhayon’s

request. In the absence of such documentation, it is our position that the vesting
and distribution set forth in the 2003 Plan in fact controls.

 

 

 

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| Eligibility to Participate

Participation in the RBC Wealth Accumulation Plan is limited only to that elite
proup of management ot highly compensation employees whose gross cash
compensation exceeds $150,000 per year. Participants are entitled to a matching
contribution by RBC which is performance based.

It is undisputed that as of September 17, 2007, Mr. Benhayon was the Managing
Director of Institutional Sales/Fixed Incomes Sales U.S., for RBC Capital Markets
in San Francisco, thus qualifying as a member of that elite group of participants.
His participation in the Wealth Accumulation Plan is consistent with this, as
participation therein is designed for employees in a ‘select group of management
ot highly compensated employees’. A review of the RBC Payroll records and the
WAP records clearly support this as RBC’s contribution to the WAP account is
directly related to that very same level of heightened productivity.

Mr. Benhayon was terminated by RBC on September 17, 2007, less than 120 days
prior to his 2008 distribution under the WAP, such distribution oxeccding
$300,000.

 

Absent “Forfeiture”, Mr. Benhayon is Entitled to Distribution upon
Separation from RBC

At the forefront is Mr. Benhayon’s entitlement RBC’s 2003 contribution to his
WAP account.

The Summary Description and Prospectus (dated April 1, 2003, and applicable to
the immediate 2008 vesting of RBC’s 2003 contribution) establishes that upon
Separation! from RBC, an employee is entitled to accelerated vesting and
distribution. |

 

Distributions. Upon electing to participate in the Plan, a participant
will also make an irrevocable election with respect to the timing of
the payment of the amounts credited to such participant’s accounts.
A participant may elect to have such distribution made either (i)
upon the earlier of a specified date (which date must fall on the last

 

' Defined as “the date of a Plan participant’s separation of employment from the
Company. [2003 Plan Year “Summary Description and Prospectus”, p. 4]

 

 

 

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day of a calendar quarter; provided that. any distribution shall be
‘ made prior to the last day of a calendar quarter if such distribution
would result in payments to a participant in more than one calendar
year) or the date of his ... Separation if prior to such specified

date, or (if) upon such Separation.

[2003 Plan Year “Summary Description
and Prospectus”, p. 7; Emphasis added.]

Furthermore, if the employee is no longer with RBC at the date of the scheduled
distribution, such distribution shall be in two annual installments “if the election is
triggered by the participant’s Separation prior to the date certain” and specifically:

_.. on ot about January 15 of the two Plan years following the date
of Separation if the election is triggered by the participant’s
Separation, Upon Separation, the first installment shall be equal to
50% of all amounts deemed allocated to a participant’s accounts on
the first payment date, and the second installment shall be cqual to
the remainder of all amounts deemed allocated to such participant’s
accounts on the sccond payment date ...

[2003 Plan Year “Summary Description
and Prospectus”, p. 7]

Accordingly, on September 17, 2007, Mr. Benhayon’s date of separation from
RBC, he was entitled to accelerated vesting and distribution provided that he had
not forfeited such entitlement. The Plan sets forth the criteria for such a denial of
accelerated vesting and distribution:

Forfeiture of Matching Contributions and Other Amounts. lfa
participant ceases to be employed by RBC ... due to his ... gross or
willful misconduct during the course of his ... employment,
| including theft or commission of a gross misdemeanor or felony, all
deemed investments credited to any Matching Stock Account or
Matching Cash Account, any Special Deferred Compensation
amount, and all Mandatory Deferred Compensation allocated to a
participant's Mandatory Stock Account, will be forfeited, regardless
of whether the vesting schedule has otherwise been satisfied with

 

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. respect to such shares, or assets and the proceeds thereof will be
deemed returned to the Company. Also, all amounts credited to a
participant’s Matching Stock Account or Matching Cash Account,
any Special Deferred Compensation amount, and all Mandatory
Deferred Compensation allocated to a participant’s Mandatory Stock
Account, that are not vested at the participant’s employment

termination date will be forfeited, except as otherwise described
under “Vesting” above.

[2003 Plan Year “Summary Description
and Prospectus”, p. 7]

Tt is undisputed that Mr. Benhayon was neither terminated for gross misconduct
nor willful misconduct, and in fact his tetmination was part of an “arbitrary”
termination by RBC, which has been referred to by your organization as anything
from “position elimination” to “reduction in force” lo “reorganization in the fact of
challenging credit markets”. In any event, there being no recognized exception to
accelerated vesting upon his separation from RBC employment, Mr. Benhayon is

entitled to his distribution.

 

By RBC’s own acknowledgment, this Plan may be subject to the provisions of
Section 401 of the Employment Retirement Income Securities Act of 1974
(hereinafter ERISA), Assuming. arguendo, that this is in fact a compensation
plan, it cannot be subjected to the arbitrary determinations by the Committee
within your company. Numerous courts have held that an employer has
“established or maintained” an ERISA plan if it actively participated in the design
and operation of the plan, directly controlled the day-to-day operation of the plan,
exercised substantial discretion over the plan, and/or established a separate
administrative scheme to manage the plan. [See, e.g. Hansen v. Continental Ins.
Co., 940 F.2d 971, 978 (Sth Cir. 1991); Johnson v. Watts Regulator Co., 63 F.3d
eh | 1129, 1134 (ist Cir. 1995); Elea Mechanical Contractors. Ine. v. Builders Supply
al fh Assoe., 832 F. Supp. 1054, 1057-58 (S.D. W. Va. 1993); Taggart Corp. v. Life and

 

 

Heajth Benefits Admin., Inc., 617 F.2d 1208, 1210 (Sth Cir. 1980); Sindelar v.
Cariada Transp., Inc., 520 N.W.2d 203, 207 (Neb. 1994).] It is well settled upon
review of the 2003 Plan Year “Summary Description and Prospectus” that RBC

 

2 See, e.g. 2003 Plan Year “Summary Description and Prospectus” at p. 10 44;
Sevtion 5.10 of the 2006 Amended and Restated US Wealth Accumulation Plan

and Prospectus.

 

 

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4 maintains absolute control over the implementation of the Plan, the day-to-day

| operations of the Plan, exercises substantial discretion over the Plan, including but

| not limited to the disctetion to determine who may participate and who may be
i entitled to receive the benefits of such participation therein.”

i In summary, Mr. Benhayon’s demand for accelerated vesting and distribution is
i reasserted, Please contact the undersigned upon conclusion of your Committee’s
i re-evaluation of this request.

| Very. truly yours,
LAW OFFICE OF KARI M. MYRON

ORIGINAL SIGNED BY KARI M. MYRON
Kari: M. Myron
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ec! Client

 

 

 

 

 

* Although Mr. Benhayon disputes that the 2006 Prospectus is applicable in this
particular instance, it is noted. that RBC takes the same position with respect
ERISA and its applicability therein. Notwithstanding the foregoing, because RBC
has taken the position that Mr. Benhayon has forfeited his right to receive the RBC
contribution to his WAP account, RBC has created a rebuttable presumption that

in fact, ERISA does apply.

 

 

 

 

 

 

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